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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION



 DEBRA S. PEREZ,
                                                      CIVIL COMPLAINT
              Plaintiff,

 v.                                                   CASE NO.5:18-cv-00532

 WILLIAMS & FUDGE, INC.,
                                                      JURY DEMAND
              Defendant.


                                           COMPLAINT

        NOW comes DEBRA S. PEREZ (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of WILLIAMS & FUDGE, INC.

(“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiffs bring this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq. and the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Western District of Texas and a substantial portion of the events or omissions giving rise to

the claims occurred within the Western District of Texas.

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                                                    PARTIES

      4. Plaintiff is a 47 year old nature person residing in San Antonio, Texas, which lies within

the Western District of Texas.

      5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

      6. Defendant is a debt collection agency that “aid[s] colleges and universities in the recovery

of education-related receivables.”1 Defendant is a corporation organized under the laws of the state

of South Carolina with its principal place of business located at 300 Chatham Avenue, Rock Hill,

South Carolina.

      7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

      8.   Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                  FACTS SUPPORTING CAUSES OF ACTION

      9.    The instant action arises out of Defendant’s attempts to collect upon a debt (“subject

debt”) said to be owed by Plaintiff’s daughter.

      10. Upon belief, the subject debt stems from education Plaintiff’s daughter, Tatiana, received

from the Art Institute.

      11. In approximately early 2018, Plaintiff began receiving calls to her cellular phone, (830)

XXX-2881, from Defendant.

      12. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 2881. Plaintiff is and always has been responsible for the

cellular phone and its services.



1
    https://www.wfcorp.com/about/philosophy-history-and-office/

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   13. Defendant primarily uses the phone number (210) 907-7979 when placing calls to

Plaintiff’s cellular phone, but upon belief, it has used other numbers as well.

   14. Upon information and belief, the above referenced phone number ending in 7979 is

regularly utilized by Defendant during its debt collection activity.

   15. Upon answering calls from Defendant, Plaintiff experience a noticeable pause, lasting a

few seconds in length, before being connected to a live representative.

   16. When Plaintiff spoke with Defendant, she was informed that it was calling to collect upon

the subject debt said to be owed by Tatiana.

   17. Plaintiff advised Defendant of the difficult financial situation her and her family were in

as a result of identity theft issues as well as a car crash that impacted her family.

   18. Plaintiff further advised Defendant that she and her family wanted to address the subject

debt, but that they were unable to do so due to financial constraints.

   19. Notwithstanding this information and Plaintiff’s sincere desire to address the subject debt,

Defendant continued placing repeated and harassing phone calls to Plaintiff’s cellular phone.

   20. As a result of Defendant’s harassing phone calls, Plaintiff demanded that Defendant stop

calling her cellular phone.

   21. Notwithstanding Plaintiff’s demands, Defendant continued calling Plaintiff to collect

upon the subject debt up until the filing of the instant action.

   22. Plaintiff has received not less than 25 phone calls from Defendant since Plaintiff

demanded that it stop calling her cellular phone.

   23. Defendant has even frequently placed multiple phone calls to Plaintiff’s cellular phone on

the same day attempting to collect upon the subject debt.




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   24. For example, on May 2, 2018, Defendant placed 6 phone calls to Plaintiff’s cellular phone,

including several phone calls within seconds of one another.

   25. Frustrated over Defendant’s conduct, Plaintiffs spoke with Sulaiman regarding her rights,

resulting in expenses.

   26. Plaintiffs have been unfairly and unnecessarily harassed by Defendant's actions. Plaintiff

suffers from anxiety and several other health issues. Defendant’s conduct and the stress caused

therefrom has greatly worsened Plaintiff’s various afflictions.

   27. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional

distress, increased risk of personal injury resulting from the distraction caused by the never-ending

calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular

phone functionality, decreased battery life on her cellular phones, and diminished space for data

storage on her cellular phone.

           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   28. Plaintiff repeats and realleges paragraphs 1 through 27 as though fully set forth herein.

   29. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   30. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   31. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others.

   32. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be due to another for personal, family, or household purposes.



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       a. Violations of FDCPA §1692b & c(b)

   33. The FDCPA, pursuant to 15 U.S.C. §1692b, prohibits a debt collector from

“communicating with any person other than the consumer for the purpose of acquiring location

information about the consumer.” Further, under § 1692b(2), a debt collector cannot “state that [a]

consumer owes any debt.” Additionally, under §1692b(3), a debt collector “shall not communicate

with any such person more than once unless requested to do so by such person or unless the debt

collector reasonably believes that the earlier response of such person is erroneous or incomplete

and that such person now has correct or complete location information.” Furthermore, under

§1692c(b), “without the prior consent of the consumer given directly to the debt collector…a debt

collector may not communicate, in connection with the collection of any debt, with any person

other than the consumer, his attorney, a consumer reporting agency…the attorney of the creditor,

or the attorney of the debt collector.”

   34. Defendant violated §1692b, b(2), b(3), and c(b) through the numerous contacts and

conversations it had with Plaintiff seeking to collect upon a debt said to be owed by her daughter

Tatiana. Plaintiff explicitly demanded that Defendant stop calling her cellular phone. Defendant

had more than enough information to know that the number it was calling did not belong to Tatiana

and that Plaintiff did not want to receive phone calls. Armed with this information, Defendant still

continued to call Plaintiff’s cellular phone repeatedly without her consent. Additionally, on these

phone calls, Defendant provided Plaintiff with information about the subject debt in violation of

the FDCPA.

       b. Violations of FDCPA §1692c(a)(1) and §1692d

   35. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in



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connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to

ring or engaging any person in telephone conversation repeatedly or continuously with intent to

annoy, abuse, or harass any person at the called number.”

   36. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being

notified to stop. Defendant called Plaintiff at least 25 times after she demanded that it stop. This

repeated behavior of systematically calling Plaintiff’s phone despite her demands was harassing

and abusive. The frequency and volume of calls shows that Defendant willfully ignored Plaintiff’s

pleas with the goal of annoying and harassing her.

   37. Defendant was notified by Plaintiffs that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to her.

         c. Violations of the FDCPA § 1692e

   38. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

false, deceptive, or misleading representation or means in connection with the collection of any

debt.”

   39. In addition, this section enumerates specific violations, such as:

           “The use of any false representation or deceptive means to collect or attempt to
           collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
           §1692e(10).

   40. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. Through its phone calls to Plaintiff, Defendant repeatedly

contacted Plaintiff even though she demanded that it stop calling. Nevertheless, Defendant called

Plaintiff at least 25 times in a deceptive attempt to force her to answer its calls and ultimately make

a payment. Through its conduct, Defendant misleadingly represented to Plaintiff that it had the

lawful ability to continue placing calls to her cellular phone via an automated system when it did

not have consent to do so.

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         d. Violations of FDCPA § 1692f

    41. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    42. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by repeatedly calling Plaintiff over 25 times after being notified to stop. Attempting to coerce

Plaintiff into payment by placing repeated phone calls without her permission is unfair and

unconscionable behavior. These means employed by Defendant only served to worry and confuse

Plaintiff.

    43. As pled in paragraphs 22 through 27, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.


    WHEREFORE, Plaintiff, DEBRA S. PEREZ, respectfully requests that this Honorable Court

enter judgment in her favor as follows:


    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned bodies of law;

    b. Awarding Plaintiff statutory damages of $1,000.00 each as provided under 15 U.S.C.
       §1692k(a)(2)(A);

    c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
       under 15 U.S.C. §1692k(a)(1);

    d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
       §1692k(a)(3);

    e. Enjoining Defendant from further contacting Plaintiff; and

    f. Awarding any other relief as this Honorable Court deems just and appropriate.

             COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

    44. Plaintiffs repeat and reallege paragraphs 1 through 43 as though fully set forth herein.



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   45. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   46. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The noticeable pause, lasting a few seconds in length, that Plaintiff

experiences during answered calls from Defendant before being connected to a live representative

is instructive that an ATDS was being utilized to generate the phone calls. Further, the multiple

phone calls Plaintiff would receive on the same day in short succession further demonstrates

Defendant’s use of an ATDS. Additionally, the nature and frequency of Defendant’s contacts

points to the involvement of an ATDS.

   47. Defendant violated the TCPA by placing at least 25 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Plaintiff never had any business relationship with

Defendant nor has she ever given it permission to call her cellular phone. Any consent Defendant

may have had to contact Plaintiff was specifically revoked by Plaintiff’s demands that Defendant

cease contacting her.

   48. The calls placed by Defendant to Plaintiff were regarding business transactions and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   49. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiffs

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).



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   WHEREFORE, Plaintiff, DEBRA S. PEREZ, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
      to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


Dated: May 31, 2018                               Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)               s/Taxiarchis Hatzidimitriadis
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